
11 Mich. App. 693 (1967)
162 N.W.2d 164
ENVIRONMENTAL DEFENSE FUND, INC.
v.
DIRECTOR OF AGRICULTURE DEPARTMENT.
Docket No. 4,594.
Michigan Court of Appeals.
Decided November 14, 1967.
Opinion filed June 24, 1968.
Leave to appeal denied November 22, 1967.
*694 Yannacone &amp; Yannacone and Fox, Thompson &amp; Morris, for plaintiff.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, and Francis J. Carrier and Maurice M. Moule, Assistant Attorneys General, for defendants.
Leave to appeal denied November 22, 1967. See 379 Mich 789.
PER CURIAM:
The department of agriculture determined in its judgment that the use of Dieldrin in the eradication of the Japanese beetle, a declared nuisance, was necessary to protect the agricultural crops in the Berrien county area. Under the appropriate statute[*] and in collaboration with the United States department of agriculture the Dieldrin plan was drafted and the required notices were served.
The evidence produced before the Court was to the effect that the department of agriculture had made its determination after considering the need and also the effect of such use of Dieldrin. Such a decision is one of discretion left to the wisdom *695 and judgment of the Michigan State department of agriculture.
We find no abuse of discretion and, therefore, the writ of mandamus is denied and the temporary restraining order heretofore issued is dissolved.
BURNS, P.J., and FITZGERALD and HOLBROOK, JJ., concurred.
NOTES
[*]  CL 1948, § 286.201 et seq., as amended (Stat Ann 1967 Rev and Stat Ann 1968 Cum Supp § 12.201 et seq.).

